Case 3:22-cv-00049-NKM-JCH Document 80 Filed 11/04/22 Page 1 of 1 Pageid#: 666




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF VIRGINIA
                           CHARLOTTESVILLE DIVISION


  BABY DOE, et al.,
                                                       Case No. 3:22-cv-00049
                                      Plaintiffs,

                       v.                              ORDER

  JOSHUA MAST, et al.,
                                                       Judge Norman K. Moon
                                     Defendants.



         Within 21 days after Defendants filed their motions to dismiss Plaintiffs’ original

 complaint, Dkts. 49, 53, 55, 58, Plaintiffs filed an amended complaint. Dkt. 68. See Fed. R. Civ.

 P. 15(a)(1)(B) (permitting filing of an amended complaint as of right within 21 days of service of

 a Rule 12(b) motion). Defendants’ motions to dismiss the original complaint have been mooted

 by the filing of amended complaint, as that amended pleading supersedes the original complaint

 and rendered it of no effect. Young v. City of Mount Ranier, 238 F.3d 567, 572 (4th Cir. 2001).

 Accordingly, the Court will DENY as moot Defendants’ motions to dismiss Plaintiffs’ original

 complaint. Dkts. 49, 53, 55, 58. Defendants may raise any arguments contained in their earlier

 motions to dismiss in any response to the amended complaint, if they wish.

        It is so ORDERED.

        The Clerk of Court is directed to send this Order to the parties.

                                            4th day of November, 2022.
                               Entered this ____
